Dear Ms. Wooten:
We are in receipt of your request for an Attorney General's opinion with regard to the recall petition directed toward Joye Lawson, Alderman, Village of Provencal, Parish of Natchitoches. The registrar of voters certified the recall petition on July 7, 2000 and has presented same to the governor.  Therefore, you have requested an opinion as to whether the governor should issue a proclamation ordering an election to be held for the purpose of voting on the question of recall for the Alderman in the Village of Provencal.
With regard to recall petitions LSA-R.S. 18:1300.3(C) requires the registrar to send the original petition to the governor immediately after certification.  Section 1300.7 requires the governor to issue a proclamation, within fifteen days after the petition is presented to him, to order an election to be held for the purpose of voting on the question of recall of the officer ifthe required number of registered voters sign the petition forrecall.
LSA-R.S. 18:1300.3 requires the registrar to certify to (1) the number of names on the petition; (2)  the number of qualified electors of the voting area within the parish whose signatures appear on the petition; (3) the total number of electors of the voting area within the parish as of the date of the filing of the petition with the secretary of state; and to indicate on the petition the number of names who are not electors of the voting area.
The recall petition was properly certified by the registrar of voters in accordance with LSA-R.S. 18:1300.3.  The registrar's certificate provides as follows:
  Total number of electors of the voting area within the parish as of the date of the filing of the petition with the Secretary of State ............................ 471
  Total number of signatures contained in the petition ... 215
  Total number of genuine signatures of qualified electors contained in the petition ..................... 197
  Total number of signatures not genuine, not signed, dated, duplicated, not qualified, or written in the manner required is .....................................  18
LSA-R.S. 18:1300.2(B) requires a recall petition to be "[s]igned by a number of the electors of the voting area as will in number equal not less than thirty-three and one-third percent of the number of the total electors of the voting area wherein and for which a recall election is petitioned; however, where fewer than one thousand qualified electors reside within the voting area, the petition shall be signed by not less than forty percent of said electors."  The registrar certified that the total number of voters registered in the voting area for the office of Alderman, Village of Provencal is 471.  Therefore, in calculating forty percent of 471, a total of 188.4 valid signatures is required on the recall petition for the governor to issue a proclamation for a special election.
The registrar certified a total of 197 valid signatures on the recall petition, which total does meet the required forty percent. Therefore, it is the opinion of this office that the validated signatures on the recall petition are sufficient in number for the governor to issue a proclamation ordering a special election on the question of recall for Joye Lawson, Alderman, Village of Provencal, Parish of Natchitoches. The special election shall be held on the next available date specified in R.S. 18:402(F), which is October 7, 2000.
If we can be of further assistance in this matter, please contact our office.
Very truly yours,
                              RICHARD P. IEYOUB ATTORNEY GENERAL
                              ____________________________ ANGIE ROGERS LAPLACE Assistant Attorney General
RPI/ARL:cwr Enclosuresarl/opinions/2000/00-281
cc:     Hon. Joye Lawson Registrar, Deborah S. Waskom Hon. W. Fox McKeithen Hon. Suzanne H. Terrell